      Case 2:16-cv-02045-GMS Document 49 Filed 12/15/16 Page 1 of 2




 1

 2 Kevin Fallon McCarthy, 011017
     Joon N. Kee, 028152
 3   4250 North Drinkwater Blvd, Suite 320
     Scottsdale, AZ 85251
     602-456-8900
 4   joon.kee@mccarthylawyer.com
     Attorneys for Plaintiff
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ARIZONA, PHOENIX DIVISION
 7

 8     TROY GAMM                                      Case No.: 2:16-cv-02045-GMS
               Plaintiff,
 9                                                    NOTICE OF SETTLEMENT
       v.
10
       USAA FEDERAL SAVINGS BANK, et
11     al

12              Defendants.
13
            Plaintiff Troy Gamm (“Plaintiff”) and USAA Federal Savings Bank (“USAA FSB”)
14
     (hereinafter USAA FSB together with Plaintiff collectively referred to as the “Parties”), by
15
     and through their undersigned counsel, hereby notify the Court that the Parties have reached
16
     a settlement in the above-referenced matter which will include the dismissal with prejudice
17
     of all claims against USAA FSB. The Parties are in the process of finalizing the settlement,
18
     whereupon the Parties will file a motion for dismissal with prejudice. The Parties anticipate
19
     that the settlement and dismissal of claims against USAA FSB will be finalized within the
20
     next sixty (60) days.
21
            Respectfully submitted this 15th day of December, 2016.
22
             Polsinelli PC                              MCCARTHY LAW PLC
23
             By: /s/John Craiger                        By:/s/ Joon N. Kee
24           John Craiger                               Kevin Fallon McCarthy
             One East Washington St.                    Joon N. Kee
25                                                      Devan Michael
             Suite 1200
26           Phoenix, AZ 85004-2568                     4250 N. Drinkwater Boulevard, Suite 320
             Attorney for USAA Federal                  Scottsdale, AZ 85251
27           Savings Bank                               Attorneys for Plaintiff
28

                                                  1                             Notice of Settlement
     Case 2:16-cv-02045-GMS Document 49 Filed 12/15/16 Page 2 of 2




 1                              CERTIFICATE OF SERVICE
 2        I hereby certify that on this 15th day of December, 2016, I electronically transmitted
 3 the foregoing document to the Clerk’s Office using the ECF system for filing and

 4 transmittal of a Notice of Electronic Filing to all CM/ECF registrants of record in this

 5 matter.

 6

 7                                                         /s/ Joon N. Kee
 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                                2                             Notice of Settlement
